    Case 18-01373-jw       Doc 76     Filed 07/13/18 Entered 07/13/18 08:50:05          Desc Main
                                      Document      Page 1 of 2

                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                             CASE NO: 18-01373-JW

JOHNSON D. KOOLA                                   (CHAPTER 13)


                                                                    OBJECTION TO:
                                                   DEBTOR'S REQUEST FOR ORDER AFFIRMING HOMESTEAD
                                                                      EXEMPTION
                                  Debtor

     Please take notice that the trustee objects to the DEBTOR'S REQUEST FOR ORDER
AFFIRMING HOMESTEAD EXEMPTION for the following reason(s):
   Debtor requests an order affirming the homestead exemption claim. It appears to the
   satisfaction of the Trustee, based upon current information, that the exemptions filed March 20,
   2018 are valid, and the Trustee believes that the Debtor may rely upon the claim for the
   purposes of drafting a modified plan and for confirmation.
  Trustee does not believe that an order is necessary, and, if an order is entered, it could be used
  to defend an objection that would otherwise be timely, if the debtor amends Schedule C or in
  the unlikely event that fraud is discovered. The language of Federal Rule of Bankruptcy
  Procedure, Rule 4003, is controlling. Trustee agrees that the deadline to object under Rule
  4003(b)(1) has passed for the Schedule C filed March 20, 2018. Trustee has no reason at this
  time to believe that there is a basis for an objection under Rule 4003(b)(2) or (3). If Schedule C
  is amended, or if fraud is later found, however, the deadline to object has not passed.

Trustee requests a hearing for the objection to be heard.

Dated: 7/13/2018                                     /s/ James M. Wyman
                                                     James M. Wyman
                                                     Chapter 13 Trustee
                                                     PO Box 997
                                                     Mt. Pleasant, SC 29465-0997
                                                     Phone: (843) 388-9844
                                                     Fax: (843) 388-9877
                                                     Email: 13office@charleston13.com
   Case 18-01373-jw        Doc 76     Filed 07/13/18 Entered 07/13/18 08:50:05            Desc Main
                                      Document      Page 2 of 2


                                CERTIFICATE OF SERVICE

I did this date serve the attached document(s) on the parties listed below by placing the same in
the United States mail with proper postage affixed thereto and addressed as follows :
JOHNSON D. KOOLA
1587 CAMBRIDGE LAKES DRIVE
MOUNT PLEASANT, SC 29464




Date: July 13, 2018                                 /s/ Russell Jackson, II
                                                    Russell Jackson, II
                                                    Office of the Chapter 13 Trustee
                                                    Mt. Pleasant, SC 29465-0997
                                                    Phone: (843) 388-9844 x 312
                                                    Fax: (843) 388-9877
                                                    Email: 13office@charleston13.com
